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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

 In re:
                                                                    Chapter 11
 WILLIAMS INDUSTRIAL SERVICES
 GROUP INC., et al.,1                                               Case No. 23-10961

                                                                    (Joint Administration Requested)
             Debtors.


   DEBTORS’ EMERGENCY MOTION FOR ENTRY OF INTERIM AND FINAL
ORDERS (I) AUTHORIZING DEBTORS TO CONTINUE PREPETITION INSURANCE
  AND WORKERS’ COMPENSATION POLICIES AND TO PAY PREPETITION
  PREMIUMS AND RELATED OBLIGATIONS AND (II) GRANTING RELATED
                             RELIEF

          The above-captioned debtors and debtors in possession (collectively, the “Debtors”) file

this Emergency Motion for Entry of Interim and Final Orders (I) Authorizing Debtors to Continue

Prepetition Insurance and Workers’ Compensation Policies and to Pay Prepetition Premiums and

Related Obligations and (II) Granting Related Relief (the “Motion”). In support of this Motion,

the Debtors respectfully represent as follows:

                                           JURISDICTION AND VENUE

          1.        This Court has jurisdiction over these cases and this matter pursuant to 28 U.S.C.

§§ 157 and 1334. This is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2)(A). Venue

is proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409(a).

          2.        The bases for the relief requested herein are sections 105, 363, 1107, 1108, and

1112 of title 11 of the United States Code, (the “Bankruptcy Code”) and Rules 4001(c), 6003 and


1 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor's federal tax identification number, include:

Williams Industrial Services Group Inc. (1378), Williams Industrial Services Group, LLC (2666), Williams Industrial Services,
LLC (0406), Williams Plant Services, LLC (9575), Williams Specialty Services, LLC (9578), WISG Electrical, LLC (6918),
Construction & Maintenance Professionals, LLC (0925), Williams Global Services, Inc. (3708), Steam Enterprises, LLC (9177),
GPEG LLC (5707), Global Power Professional Services, Inc. (2550), WISG Canada Ltd. (B.N. 6518), WISG Nuclear Ltd. (B.N.
3510), and WISG Electrical Ltd. (B.N. 2116). The location of the Debtors' corporate headquarters and service address is: 200
Ashford Center N, Suite 425, Atlanta, GA 30338.



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6004 of the Federal Rules of the Bankruptcy Procedure (the “Bankruptcy Rules”). Pursuant to Rule

9013-1(f) of the Local Rules of Bankruptcy Practice and Procedure of the United States

Bankruptcy Court for the District of Delaware (the “Local Rules”), the Debtors consent to the

entry of a final judgment or order with respect to this Motion if it is determined that this Court,

absent consent of the parties, cannot enter final orders or judgments consistent with Article III of

the United States Constitution.

                                         BACKGROUND

         3.      On the date hereof (the “Petition Date”), the Debtors filed voluntary petitions for

relief under chapter 11 of the Bankruptcy Code in the United States Bankruptcy Court for the

District of Delaware (the “Court”). The Debtors have continued in possession of their properties

and have continued to operate and manage their business as debtors in possession pursuant to

sections 1107(a) and 1108 of the Bankruptcy Code. No request has been made for the appointment

of a trustee or examiner, and no official committee has yet been established in these cases.

         4.      The factual background relating to the Debtors’ commencement of these cases is

set forth in detail in the Declaration of Tracy Pagliara in Support of Chapter 11 Petitions and

First Day Pleadings (the “First Day Declaration”) filed on the Petition Date and incorporated

herein by reference.

             THE DEBTORS’ INSURANCE POLICIES AND PREMIUM FINANCING
                                  AGREEMENTS

         5.      In connection with the operation of their business, Debtors maintain various

insurance policies to address potential exposure, including, without limitation general liability,

automobile, commercial liability, environmental, property, director and officer liability, fiduciary

liability, and cyber (collectively, the “Insurance Policies”) through several different insurance

carriers (collectively, the “Insurance Carriers”). The Debtors’ Insurance Policies, which are



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essential to the Debtors’ business during the Chapter 11 cases, are more specifically identified on

Exhibit A attached hereto, which references the applicable policy numbers, policy periods and

effective dates, premium amounts, fees/surcharges, Insurance Carriers, coverage categories and

descriptions, coverage limits, and deductibles.

         6.    As detailed in Exhibit A attached hereto, insurance premiums for Debtors’ director

and officer liability, cyber, fiduciary and other related coverages for policy periods spanning

twelve (12) months from May 1, 2023 to May 1, 2024 total $612,519.60. These premiums are

financed pursuant to a Premium Financing Agreement (the “First Insurance Premium Financing

Agreement”) with First Insurance Funding (“First Insurance”) dated April 25, 2023. A true and

correct copy of the First Insurance Premium Financing Agreement is attached hereto as Exhibit

B. Under the First Insurance Premium Financing Agreement, Debtors are required to remit ten

(10) monthly installment payments to First Insurance in the amount of $50,807.04 per month, due

on the first (1st) day of each month through and including April 1, 2024. As of the Petition Date,

the Debtors are current and have no prepetition monthly installment payments outstanding under

the First Insurance Premium Financing Agreement, and the First Insurance Premium Financing

Agreement outstanding principal balance is prepaid in full.

         7.    Likewise, as set forth more fully on Exhibit A attached hereto, insurance premiums

for the Debtors’ other Insurance Policies (including general liability, automobile, commercial

liability, environmental, and property policies), as well as its Workers’ Compensation Premiums

(as such term is defined below) for policy periods spanning twelve (12) months from September

15, 2022, to September 15, 2023, total $3,326,673.04. These premiums are financed pursuant to a

Commercial Insurance Premium Financing and Security Agreement (the “BankDirect Premium

Financing Agreement,” and together with the First Insurance Premium Financing Agreement,




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collectively, the “Premium Financing Agreements”) with Bank Direct Capital Finance, a division

of Texas Capital Bank (“BankDirect”) dated September 16, 2022. A true and correct copy of the

BankDirect Insurance Premium Financing Agreement is attached hereto as Exhibit C. Under the

BankDirect Premium Financing Agreement, Debtors are required to remit eleven (11) monthly

installment payments to BankDirect in the amount of $282,952.49 per month, due on the fifteenth

(15th) day of each month through and including September 15, 2024. As of the Petition Date, the

Debtors are current and have no prepetition monthly installment payments outstanding under the

BankDirect Insurance Premium Financing Agreement. The next installment will come due on

August 15, 2023, in the amount of $282,952.49.

         8.    The Debtors’ obligations under the Premium Financing Agreements are secured by,

inter alia, sums that may become payable under the Insurance Programs. In the Debtors’ business

judgment, the terms of the Premium Financing Agreements represent fair and reasonable terms for

financing the premiums of the Insurance Policies and Workers Compensation Policies under the

circumstances, and the Debtors’ estates will benefit by maintaining this low-cost financing.

Moreover, any interruption of payments might adversely affect the Debtors’ ability to obtain

financing for future policies on favorable terms, to the extent needed. In some cases, the coverage

is required by regulations, laws, or contracts that govern the Debtors’ business obligations. Thus,

the Debtors request the authority to continue honoring their obligations pursuant to the Premium

Financing Agreements and to continue the grant of security interests to First Insurance and

BankDirect.

     THE DEBTORS’ WORKERS’ COMPENSATION PROGRAMS AND POLICIES

         9.    Under state law, the Debtors are required to maintain workers’ compensation

Insurance Policies to provide their employees with coverage for claims arising from or related to

their employment with the Debtors. In the ordinary course of business, the Debtors maintain


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workers’ compensation insurance programs and policies at the levels required by statute for each

U.S. state in which the Debtors conduct business (collectively, the “Workers’ Compensation

Policies”). The Workers’ Compensation Policies are administered by Starr Indemnity & Liability

Company. The Debtors pay all amounts related to workers’ compensation claims up to a fixed per-

claim deductible in the amount of $500,000 for losses that exceed the deductible. The Debtors’

Workers Compensation Policies are also identified on Exhibit A attached hereto, which references

the applicable policy numbers, policy periods and effective dates, premium amounts,

fees/surcharges, coverage categories and descriptions, coverage limits, and deductibles.

         10.   As set forth more fully on Exhibit A attached hereto, the Debtors have annual

required premiums for the Workers’ Compensation Policies, which total $683,225 (collectively,

the “Workers’ Compensation Premiums”). The Workers’ Compensation Policies currently in

effect as of the Petition Date have policy periods that run from September 15, 2022, to September

15, 2023. As noted above, the Workers’ Compensation Premiums are financed pursuant to the

BankDirect Premium Finance Agreement attached hereto as Exhibit C, with payment terms

outlined in paragraph 7 above.

                                    RELIEF REQUESTED

         11.   By this Motion, the Debtors request entry of interim and final orders, substantially

in the form annexed hereto as Exhibit E and Exhibit F respectively, (a) granting them authority

to (i) continue their prepetition Insurance Policies, as such practices, programs, and policies were

in effect as of the Petition Date; (ii) renew, amend, supplement, extend, or purchase Insurance

Policies to the extent that the Debtors determine that such action is in the best interest of their

estates; (iii) pay all amounts owed as of the Petition Date and during the pendency of this case

under the Premium Financing Agreements and/or the Insurance Policies, as may be necessary to

maintain the Insurance Policies, including without limitation, the amounts specified in Exhibit D;


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(b) authorizing the Debtors’ banks and other financial institutions to receive, process and pay any

and all checks and other transfers related to the foregoing; and (c) granting related relief.

                               BASIS FOR RELIEF REQUESTED

         12.   As discussed above, the Insurance Policies provide a comprehensive range of

protection for the Debtors’ business, properties, and assets. As such, it is essential that the Debtors’

insurance coverage continues in full force and effect during the course of these chapter 11 cases.

Under section 1112(b)(4)(C) of the Bankruptcy Code, “failure [of a debtor] to maintain appropriate

insurance [where such failure] poses a risk to the estate or to the public” is “cause” for mandatory

conversion or dismissal of a chapter 11 case. 11 U.S.C. § 1112(b)(4)(C). Similarly, certain of the

Insurance Policies are required by various state and federal regulations. In addition, the U.S.

Trustee Guidelines require that a debtor “shall maintain” certain types of insurance coverage

following the Petition Date. See U.S. Trustee Guidelines, § 5. To ensure that the Debtors comply

with section 1112(b)(4)(C) of the Bankruptcy Code, applicable state and federal regulations, and

the U.S. Trustee Guidelines, the Debtors respectfully request the authority to continue to honor

obligations arising under the Insurance Policies and related Premium Financing Agreements, if

necessary, to renew, supplement, or purchase insurance coverage on a post-petition basis in the

ordinary course of business.

         13.   This Court has authority to grant the relief requested herein pursuant to sections

105(a) and 363(b) of the Bankruptcy Code. Section 363(b)(1) of the Bankruptcy Code provides

that “[t]he trustee, after notice and a hearing, may use, sell, or lease, other than in the ordinary

course of business, property of the estate.” 11 U.S.C. § 363(b)(1). Under section 363(b), courts

generally require only that the debtor “show that a sound business purpose” justifies the proposed

use of property. In re Montgomery Ward Holding Corp., 242 B.R. 147, 153 (D. Del. 1999); See

also In re Ionosphere Clubs, Inc., 98 B.R. 174, 175 (Bankr. S.D.N.Y. 1989) (granting authority to


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pay prepetition wages); Armstrong World Indus., Inc. v. James A. Phillips, Inc. (In re James A.

Phillips, Inc.), 29 B.R. 391, 398 (S.D.N.Y. 1983) (granting authority to pay prepetition claims of

suppliers). Moreover, “[w]here the debtor articulates a reasonable basis for its business decisions

(as distinct from a decision made arbitrarily or capriciously), courts will generally not entertain

objections to the debtor’s conduct.” In re Johns-Manville Corp., 60 B.R. 612, 616 (Bankr.

S.D.N.Y. 1986).

         14.   Further, section 105(a) of the Bankruptcy Code provides, in relevant part, that

“[t]he court may issue any order, process, or judgment that is necessary or appropriate to carry out

the provisions of this title.” 11 U.S.C. § 105(a). The Court may use its power under section 105(a)

to authorize payment of prepetition obligations under the “necessity of payment” doctrine. See,

e.g., In re Chateaugay Corp., 80 B.R. 279, 287 (S.D.N.Y. 1987). Under the “necessity of

payment” doctrine, a bankruptcy court can exercise its equitable powers to permit the payment of

prepetition claims of those parties whose goods or services are critical to reorganization of the

debtor’s operations. See, e.g., In re Lehigh & New England Ry. Co., 657 F.2d 570, 581 (3d Cir.

1981) (“[I]f payment of a claim which arose prior to reorganization is essential to the continued

operation of the railroad during reorganization, payment may be authorized even if it is made out

of corpus.”); In re Boston & Maine Corp., 634 F.2d 1359, 1382 (1st Cir. 1980) (recognizing the

existence of a judicial power to authorize trustees to pay claims for goods and services that are

indispensably necessary to the debtors’ continued operation); In re Columbia Gas Sys., 171 B.R.

189, 192 (Bankr. D. Del. 1994) (necessity of payment doctrine is applicable where “payment is

essential to continued operation of the business”); In re Ionosphere Clubs, Inc., 98 B.R. 174, 176

(Bankr. S.D.N.Y. 1989) (stating that the rationale of the necessity of payment rule corresponds

with the paramount goal of Chapter 11 debtor reorganization); In re Structurelite Plastics Corp.,



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86 B.R. 922, 931 (Bankr. S.D. Ohio 1988) (agreeing in “principle that a bankruptcy court may

exercise its equity powers under section 105(a) to authorize payment of prepetition claims where

such payment is necessary to ‘permit the greatest likelihood of survival of the debtor and payment

of creditors in full or at least proportionately’”) (citation omitted).

         15.    As noted above, the Premium Financing Agreements grant the lender parties thereto

security interests in the respective Insurance Policies and/or Workers’ Compensation Policies, as

applicable, including any unearned premiums or other sums that may become payable under same.

Security interests created by premium finance arrangements are generally recognized as secured

claims in bankruptcy to the extent of the amount of unearned premiums financed pursuant to such

agreements. See TIFCO, Inc. v. U.S. Repeating Arms Co. (In re U.S. Repeating Arms Co.), 67 B.R.

990, 994–95 (Bankr. D. Conn. 1986); Drabkin v. A.I. Credit Corp. (In re Auto-Train Corp.), 9

B.R. 159, 164–66 (Bankr. D.D.C. 1981). Moreover, section 361 of the Bankruptcy Code

specifically contemplates providing adequate protection to the extent of the diminution in value of

a secured creditor’s collateral, and security interests such as those under the Premium Financing

Agreements warrant adequate protection in the form of periodic payments pursuant to the Premium

Financing Agreements’ terms. See, e.g., In re Waverly Textile Processing, Inc., 214 B.R. 476, 480

(Bankr. E.D. Va. 1997); TIFCO, Inc. v. U.S. Repeating Arms Co., 67 B.R. 990, 1000 (Bankr. D.

Conn. 1986).

         16.    Therefore, if the Debtors are unable to continue making payments under the

Premium Financing Agreements, the lenders party thereto could seek relief from the automatic

stay to cancel applicable Insurance Policies in accordance with the terms of the Premium Financing

Agreements or to seek adequate protection of their respective investments. See Universal Motor

Express, 72 B.R. 208, 211 (Bankr. W.D.N.C. 1987) (recognizing that a default under the financing




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arrangement and the resulting decline in value of the unearned premiums justified relief from the

automatic stay). The Debtors then would be required to obtain replacement insurance on an

expedited basis and at significant cost to the estates. If the Debtors are required to obtain

replacement insurance and to pay a lump-sum premium for such insurance in advance, this

payment may be the same or greater than what the Debtors currently pay BankDirect and/or First

Insurance under their respective Premium Financing Agreements. Even if these parties are not

permitted to terminate the Insurance Policies, any interruption of payments would severely and

adversely affect the Debtors’ ability to finance premiums for future policies, as may be needed.

Accordingly, the Debtors submit that the practical solution is to continue making the premium

financing payments as called for under the Premium Financing Agreements.

         17.   The Debtors submit that there is sufficient business justification to grant the relief

requested herein, because failure to pay premiums and related insurance expenses when due may

harm the Debtors’ estates in several other ways. The Insurance Carriers may refuse to renew the

Insurance Policies absent the Debtors’ ongoing satisfaction of the Insurance Obligations as and

when they become due, which will require the Debtors to obtain replacement policies and

programs and possibly reconfigure their risk management program. This, in turn, would require

the commitment of significant resources and could result in less favorable coverage or terms from

the Debtors’ insurers. Additionally, the Insurance Carriers could attempt to terminate the Debtors’

existing Insurance Policies, which could threaten the Debtors’ ability to continue operating their

business, given the Debtors’ myriad of regulatory and contractual obligations to maintain specific

amounts and types of insurance coverage.

         18.   Indeed, the Insurance Policies are essential to the preservation of the value of the

Debtors’ business, properties, and assets and their ability to successfully prosecute these chapter




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11 cases. Accordingly, in the event any of the Insurance Policies lapse or new coverage is required

or necessary, it is imperative that the Debtors be able to renew, supplement, or purchase insurance

coverage on a post-petition basis in the ordinary course of business. The Insurance Policies protect

the Debtors and other parties in interest from losses caused by casualty, natural disaster, fraud, or

other unforeseen events.

         19.   If the liability and property Insurance Policies are terminated or lapse, the Debtors

could be exposed to substantial liability for damages resulting to persons and property of the

Debtors and others. Such a result would also place at risk the Debtors’ estates’ assets necessary to

satisfy the secured and unsecured claims of creditors. Additionally, continued effectiveness of the

directors’ and officers’ liability Insurance Policies is necessary to the retention of qualified and

dedicated senior management. Moreover, pursuant to the terms of many of their commercial

contracts, as well as the guidelines established by the Office of the United States Trustee, the

Debtors are obligated to remain current with respect to many of their primary Insurance Policies.

         20.   The maintenance of the Workers’ Compensation Policies is likewise justified

because applicable state law mandates this coverage, and 28 U.S.C. § 959(b) requires the Debtors

to comply with valid state laws. In addition, some of the Debtors employees depend on the

protection that the Workers’ Compensation Policies provide.

         21.   The amounts the Debtors propose to pay in respect to the Insurance Policies and

under the Premium Financing Agreements are relatively small in comparison to the size of the

Debtors’ estates and the Debtors’ potential exposure absent insurance coverage. It is critical that

the Debtors continue to maintain the Premium Financing Agreements and the Insurance Policies

on an uninterrupted basis, and pay monthly installment payments, premiums and related costs in

the ordinary course of business and consistent with prepetition practices.




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         22.    The Debtors request that authorization of the payment of the various obligations

hereunder shall not be deemed the assumption of any executory contract pursuant to section 365

of the Bankruptcy Code. The Debtors are in the process of reviewing their Insurance Policies and

reserve all rights with respect to the Policies.

         23.    The Debtors further request that all applicable banks and other financial institutions

be authorized when requested by the Debtors and in the Debtors’ sole discretion, without any duty

of inquiry or liability to any party for following the Debtors’ instructions, to receive, process,

honor, and pay any and all checks drawn on the Debtors’ accounts to pay amounts owed under the

Insurance Policies, whether those checks are presented prior to or after the Petition Date, and make

other transfers, provided that sufficient funds are available in the applicable accounts to make the

payments.

                               EMERGENCY CONSIDERATION

         24.    The Debtors respectfully request emergency consideration of this Motion pursuant

to Bankruptcy Rule 6003, which empowers a court to grant relief within the first 21 days after the

commencement of a chapter 11 case “to the extent that relief is necessary to avoid immediate and

irreparable harm.” Here, the Debtors believe an immediate and orderly transition into chapter 11

is critical to the viability of their operations and that any delay in granting the relief requested

could hinder the Debtors’ operations and cause irreparable harm. Furthermore, the failure to

receive the requested relief during the first 21 days of these chapter 11 cases would severely disrupt

the Debtors’ operations at this critical juncture. Accordingly, the Debtors submit that they have

satisfied the “immediate and irreparable harm” standard of Bankruptcy Rule 6003 and, therefore,

respectfully request that the Court approve the relief requested in this Motion on an emergency

basis.




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                            WAIVER OF ANY APPLICABLE STAY

         25.    The Debtors seek a waiver of any stay of the effectiveness of the order granting this

Motion. Pursuant to Bankruptcy Rule 6004(h), any “order authorizing the use, sale, or lease of

property other than cash collateral is stayed until the expiration of 14 days after entry of the order,

unless the court orders otherwise.” The Debtors submit that the relief requested in this Motion is

necessary to avoid immediate and irreparable harm to the Debtors for the reasons set forth herein.

Accordingly, the Debtors submit that ample cause exists to justify a waiver of the 14-day stay

imposed by Bankruptcy Rule 6004(h), to the extent applicable.

                                               NOTICE

         26.    The Debtors have provided notice of this motion to: (a) the Office of the United

States Trustee for the District of Delaware; (b) the Debtors’ thirty (30) largest unsecured creditors;

(c) counsel to the administrative agents for the Debtors’ prepetition credit facilities; (d) the Internal

Revenue Service; (e) the Georgia Department of Revenue; (f) the Delaware Division of Revenue;

(g) the United States Attorney for the District of Delaware; (h) the Securities and Exchange

Commission; (h) the state attorneys general for states in which the Debtors conduct business; (i)

the Insurance Carriers; and (j) any party that has requested notice pursuant to Bankruptcy Rule

2002. Notice of this Motion and any order entered hereon will be served in accordance with Rule

9013-1(m) of the Local Rules of Bankruptcy Practice and Procedure of the Court.

         27.    In light of the nature of the relief requested, the Debtors respectfully submit that no

further notice is necessary.

                                       NO PRIOR REQUEST

         28.    No prior request for the relief sought in this Motion has been made to this or any

other court.




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                                          CONCLUSION

         WHEREFORE, the Debtors request this Court enter an interim order, substantially in the

form of Exhibit E, and after notice and hearing, if necessary, a final order substantially in the form

of Exhibit F, granting the relief requested herein and such other and further relief as the Court

may deem just and proper.

 Dated: July 22, 2023
 Wilmington, Delaware
                                              /s/ Mark L. Desgrosseilliers
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                                              Proposed Counsel for Debtors




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                                   EXHIBIT A

                                 Insurance Policies




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                                                                                                                                                                     Policy Schedule (5/1/23)




                                                                                                                Surplus Lines
                                                                                                                  Tax/Policy
             Policy Holder                  Policy Number   Effective Date   Expiration Date   Pure Premium                            TOTAL Premium                  Insurance Company                                   Coverage                                     Limits                             Deductible                                   Coverage Explanation
                                                                                                               Fees/Surcharges
                                                                                                                    TOTAL


                                                                                                                                                                                                                                                              $1,000,000 Occurrence                                         Protects the insured against claims brought by third parties for bodily
                                                                                                                                                                                                                                                                                                                            injury or property damage arising out of the insured's operations.

Williams Industrial Services Group, Inc.   1000090435221     9/15/2022         9/15/2023        $605,000             $0                  $605,000            Starr Indemnity & Liability Company                      General Liability                                                                   $250,000
                                                                                                                                                                                                                                                               $2,000,000 Aggregate



                                                                                                                                                                                                                                                                                                                            Responds to suits/claims from third parties as a result of a "covered
                                                                                                                                                                                                                                                                                                                            auto". No Auto Physical Damage Provided for Any Units. - Auditable.
Williams Industrial Services Group, Inc.   1000198870221     9/15/2022         9/15/2023       $105,020.00         $0.00                 $105,020            Starr Indemnity & Liability Company                        Automobile                      $1,000,000 Combined Single Limit                 Liability - $0



                                                                                                                                                                                                                                                                                                                            Part 1 - Workers Compensation: Provides employees with no fault
                                                                                                                                                                                                                                                                  WC - Statutory                                            coverage for bodily injury by accident or by disease including resulting
                                                                                                                                                                                                                                                                                                                            death in compliance with Workers' Compensation laws. Part 2 -
Williams Industrial Services Group, Inc.     1000002884      9/15/2022         9/15/2023                                                                     Starr Indemnity & Liability Company                  Workers' Compensation                                                                   $500,000          Employers Liability: Protects the employer against legal liability from an
                                                                                                                                                                                                                                                                                                                            injured employee. Program provides automatic renewal if selected
                                                                                                                                                                                                                                                                  EL - $1,000,000
                                                                                                                                                                                                                                                                                                                            criteria are met.

                                                                                                                                                                                                                                                                                                                            Part 1 - Workers Compensation: Provides employees with no fault
                                                                                                                                                                                                                                                                  WC - Statutory                                            coverage for bodily injury by accident or by disease including resulting
                                                                                                                                                                                                                  Workers' Compensation                                                                                     death in compliance with Workers' Compensation laws. Part 2 -
Williams Industrial Services Group, Inc.     1000003306      9/15/2022         9/15/2023        $625,000          $58,225                $683,225            Starr Indemnity & Liability Company                                                                                                           $500,000         Employers Liability: Protects the employer against legal liability from an
                                                                                                                                                                                                                        (FL & MA)
                                                                                                                                                                                                                                                                                                                            injured employee. Program provides automatic renewal if selected
                                                                                                                                                                                                                                                                  EL - $1,000,000
                                                                                                                                                                                                                                                                                                                            criteria are met.

                                                                                                                                                                                                                                                                                                                            Part 1 - Workers Compensation: Provides employees with no fault
                                                                                                                                                                                                                                                                  WC - Statutory                                            coverage for bodily injury by accident or by disease including resulting
                                                                                                                                                                                                                  Workers' Compensation                                                                                     death in compliance with Workers' Compensation laws. Part 2 -
Williams Industrial Services Group, Inc.     1000004774      9/15/2022         9/15/2023                                                                     Starr Indemnity & Liability Company                                                                                                           $500,000         Employers Liability: Protects the employer against legal liability from an
                                                                                                                                                                                                                  (NY, AZ, CT, IA, NJ, NC)
                                                                                                                                                                                                                                                                                                                            injured employee. Program provides automatic renewal if selected
                                                                                                                                                                                                                                                                  EL - $1,000,000
                                                                                                                                                                                                                                                                                                                            criteria are met.

                                                                                                                                                                                                                                                                                                                            Extends the limits of the eligible primary liability limits policies provided
                                                                                                                                                                                                                       Excess Liability                                                                                     by Star Indemnity & Liability for coverages such as Automobile Liability,
Williams Industrial Services Group, Inc.   1000095471221     9/15/2022         9/15/2023        $648,638           $0.00                 $648,638            Starr Indemnity & Liability Company                                                                    $5,000,000                                $0
                                                                                                                                                                                                                        (Lead $5M)                                                                                          General Liability and Employers Liability and Foreign Auto, General and
                                                                                                                                                                                                                                                                                                                                l the limits
                                                                                                                                                                                                                                                                                                                            Extends       b l of the eligible primary liability limits policies provided
                                                                                                                                                                                                                                                                    $5,000,000
                                                                                                                                                                                                                       Excess Liability                                                                                     by Star Indemnity & Liability for coverages such as Automobile Liability,
Williams Industrial Services Group, Inc.   EXC30000728104    9/15/2022         9/15/2023        $383,000          $15,320                $398,320               Endurance American Specialty                                                                     excess of primary                            $0
                                                                                                                                                                                                                        ($5M x $5M)                                                                                         General Liability and Employers Liability and Foreign Auto, General and
                                                                                                                                                                                                                                                                    $5,000,000
                                                                                                                                                                                                                                                                                                                            Employers Liability.
                                                                                                                                                                                                                                                                                                                            Extends the limits of the eligible primary liability limits policies provided
                                                                                                                                                                                                                                                                  $10,000,000
                                                                                                                                                                                                                       Excess Liability                                                                                     by Star Indemnity & Liability for coverages such as Automobile Liability,
Williams Industrial Services Group, Inc.        TBD          9/15/2022         9/15/2023        $458,000          $18,320                $476,320             Navigators Specialty Insurance Co                                                                    excess of                                  $0
                                                                                                                                                                                                                       ($10M x $10M)                                                                                        General Liability and Employers Liability and Foreign Auto, General and
                                                                                                                                                                                                                                                    $5,000,000 primary and $5,000,000 excess
                                                                                                                                                                                                                                                                                                                            Employers Liability.
                                                                                                                                                                                                                                                                                                                            Extends the limits of the eligible primary liability limits policies provided
                                                                                                                                                                                                                                                                  $5,000,000
                                                                                                                                                                                                                       Excess Liability                                                                                     by Star Indemnity & Liability for coverages such as Automobile Liability,
Williams Industrial Services Group, Inc.        TBD          9/15/2022         9/15/2023        $160,000           $6,400                $166,400             Landmark American Insurance Co.                                                                      excess of                                  $0
                                                                                                                                                                                                                       ($5M x $20M)                                                                                         General Liability and Employers Liability and Foreign Auto, General and
                                                                                                                                                                                                                                                   $5,000,000 primary and $15,000,000 excess
                                                                                                                                                                                                                                                                                                                            Employers Liability.
                                                                                                                                                                                                                                                                                                                            Provides coverage for design errors or omissions committed either by
                                                                                                                                                                                                                                                            $1,000,000 Policy Aggregate
                                                                                                                                                                                                                                                                                                                            Global Power or a designated subcontractor, resulting in economic
Williams Industrial Services Group, Inc.        TBD          9/15/2022         9/15/2023                        Included in Polution                                       Hamilton                             Contractors Professional Liab.                                                        $500,000 Each Claim
                                                                                                                                                                                                                                                                                                                            damages such as acceleration costs, delay damages, cost for remedial
                                                                                                                                                                                                                                                              $1,000,000 Each Claim
                                                                                                                                                                                                                                                                                                                            design or reconstruction.
                                                                                                                                                                                                                                                                                                                            Provides coverage for bodily injury, property damage, cleanup costs, and
                                                                                                                                                                                                                                                               $5,000,000 Each Loss                                         defense expenses for pollutants emanating from scheduled owned and
                                                                                                                                                                                                                                                                                                                            leased sites. Aggregate limits are shared between this policy and the
Williams Industrial Services Group, Inc.        TBD           6/5/2021         9/15/2022        $139,000           $5,560                $144,560                          Hamilton                                  Premises Pollution                                                                $50,000 Each Loss
                                                                                                                                                                                                                                                                                                                            Contractors Pollution Liability policy.
                                                                                                                                                                                                                                                        $5,000,000 Policy Period Aggregate

                                                                                                                                                                                                                                                                                                                            Provides coverage for bodily injury, property damage, cleanup costs, and
                                                                                                                                                                                                                                                               $5,000,000 Each Loss
                                                                                                                                                                                                                                                                                                                             defense expenses for pollutants emanating from scheduled owned and
                                                                                                                                                                                                                                                                                                                              leased sites. Aggregate limits are shared between this policy and the
Williams Industrial Services Group, Inc.        TBD           6/5/2021         9/15/2022                         Included in above                                         Hamilton                                 Contractors Pollution               $5,000,000 Policy Period Aggregate             $50,000 Each Loss
                                                                                                                                                                                                                                                                                                                                               Contractors Pollution Liability policy
                                                                                                                                                                                                                                                 $2,500,000 Project Specific Excess Limit for ConEd
                                                                                                                                                                                                                                                                       NY




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                                                                                                                                                              Policy Schedule (5/1/23)




                                                                                                               Surplus Lines
                                                                                                                 Tax/Policy
             Policy Holder                 Policy Number   Effective Date   Expiration Date   Pure Premium                      TOTAL Premium                  Insurance Company                                  Coverage                                           Limits                                         Deductible                                              Coverage Explanation
                                                                                                              Fees/Surcharges
                                                                                                                   TOTAL


                                                                                                                                                                                                                                                                                           Inland Marine/Contractor's Equipment
                                                                                                                                                                                                               Equipment Limit                                    $403,000                            2% Applies to Cranes Per Occurrence;  Provides broad coverage for contractors' equipment and tools,
                                                                                                                                                                                                                                                           $100,000 Per Occurrence                     $10,000 Minimum Deductible Per       also, includes coverage for insured's interest in Covered Property unless
                                                                                                                                                                                                         Unscheduled Equipment Limit
                                                                                                                                                                                                                                                               $5,000 Per Item                          Occurrence; $25,000 Maximum         otherwise excluded (your materials, supplies, fixtures, machinery, or
                                                                                                                                                                                                                                                          $1,000,000 Per Occurrence                       Deductible Per Occurrence         equipment; and Similar property of others that is in your care, custody,
                                                                                                                                                                                                              Leased or Rented
                                                                                                                                                                                                                                                             $1,000,000 Per Item                                                            or control, while at your Jobsite that are intended to be a permanent
                                                                                                                                                                                                                                                                                                      2% Applies to All Other Equipment Per part of the Installation Project. Riggers Coverage is for property in your
                                                                                                                                                                                                                                                                  $1,403,000                         Occurrence; $1,000 Minimum Deductible care, custody & control that is on the hook.
                                                                                                                                                                                                              Catastrophe Limit                    Flood - Zones A, V, B, X500 - No Coverage            Per Occurrence; $5,000 Maximum
                                                                                                                                                                                                                                                       Earth Movement - No Coverage                         Deductible Per Occurrence

                                                                                                                                                                                                                                                          $5,000,000 Jobsite Limit
                                                                                                                                                                                                            Installation Floater                                                                        $25,000 Per Occurrence
                                                                                                                                                                                                                                                        $5,000,000 Catastrophe Limit
                                                                                                                                                                                                Actual Cash Value - Equipment greater than 5 years old. Replacement Cost - Equipment 5 years old or newer. Refer to policy for additional Limits and Sublimits.
                                                                                                                                                                                                                                                                                                   Commercial Property


                                                                                                                                                                                                            Policy Maximum Limit                       $6,000,000 - Per Schedule on File            All Perils - $25,000 Per Occurrence, Except:
Williams Industrial Services Group, Inc.       TBD          9/15/2022         9/15/2023        $100,160           $0.00           $100,160            Starr Indemnity & Liability Company



                                                                                                                                                                                                                 Earthquake                              $6,000,000 Annual Aggregate                         $25,000 Per Occurrence



                                                                                                                                                                                                                                                                                                                                                   Provides coverage for property loss when the loss or damage is caused
                                                                                                                                                                                                                   Flood                                 $6,000,000 Annual Aggregate                         $25,000 Per Occurrence
                                                                                                                                                                                                                                                                                                                                                   by a covered peril, such as fire or explosion. See Policy for other
                                                                                                                                                                                                                                                                                                                                                   Deductibles and how limits apply.




                                                                                                                                                                                                                                                                                                       3% of TIV at time of loss, subject to
                                                                                                                                                                                                                Named Storm                              $6,000,000 Annual Aggregate
                                                                                                                                                                                                                                                                                                             minimum of $100,000




                                                                                                                                                                                                                 No Coinsurance Applies - Replacement Cost for Real & Personal Property - Earnings & Extra Expense is included Per Schedule on File. - Refer to policy for additional Limits and Sublimits




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                                                                                                                                                                          Policy Schedule (5/1/23)




                                                                                                                           Surplus Lines
                                                                                                                             Tax/Policy
             Policy Holder                       Policy Number         Effective Date   Expiration Date   Pure Premium                      TOTAL Premium                  Insurance Company                                    Coverage                      Limits          Deductible                                     Coverage Explanation
                                                                                                                          Fees/Surcharges
                                                                                                                               TOTAL

                                                                                                                                                                                                                                                                                                   Protects organizations from loss of money, securities, or inventory
                                                                                                                                                                                                                                                                                                   resulting from crime. Commom crime insurance claims allege employee
Williams Industrial Services Group, Inc.         ELU189576-23            5/1/2023         5/1/2024         $17,930.00          $0.00         $17,930.00                XL Specialty Insurance Co.                                 Crime                   $5,000,000      $50,000 Per Claim        dishonesty, embezzlement, forgery, robbery, safe burglary, computer
                                                                                                                                                                                                                                                                                                   fraud, wire transfer fraud, counterfeiting, and other criminal acts.


Williams Industrial Services Group, Inc.        EUW180616104             5/1/2023         5/1/2024        $153,000.00          $0.00         $153,000.00              Wesco Insurance Co. (Euclid)                        D&O (Primary) - $5M             $5,000,000    $1,500,000 per Claim

Williams Industrial Services Group, Inc.         05-766-62-12            5/1/2023         5/1/2024        $107,100.00          $0.00         $107,100.00            National Union Fire Ins Co of Pitt                  D&O Excess - $5M x $5M            $5,000,000            ---------

Williams Industrial Services Group, Inc.        DOC434687402             5/1/2023         5/1/2024         $75,000.00          $0.00         $75,000.00              Zurich American Insurance Co.                     D&O Excess - $5M x $10M            $5,000,000            ---------
                                                                                                                                                                                                                                                                                                   Provides coverage for corporate directors & officers against claims, most
                                                                                                                                                                                                                        D&O (Side A - DIC) Excess                                                  often by stockholders and employees, alleging financial loss arising from
Williams Industrial Services Group, Inc.         ELU18579-23             5/1/2023         5/1/2024         $46,500.00          $0.00         $46,500.00                XL Specialty Insurance Co.                                                         $5,000,000            ---------
                                                                                                                                                                                                                             $5M x $15M                                                                                       mismanagement

Williams Industrial Services Group, Inc.      P-001-000867562-02         5/1/2023         5/1/2024         $37,031.00          $0.00         $37,031.00                     Axis Insurance Co.                D&O (Side A - DIC) Excess $5m x $20m        $5,000,000            ---------

                                                                                                                                                                                                                        D&O (Side A - DIC) Excess
Williams Industrial Services Group, Inc.          NHS704896              5/1/2023         5/1/2024         $33,000.00          $0.00         $33,000.00                    RSUI Indemnity Co.                                                             $5,000,000            ---------
                                                                                                                                                                                                                             $5M x $25M
                                                                                                                                                                                                                                                                                                   Provides coverage for allegations of discrimination, sexual harassment or
                                                                                                                                                                                                                                                                         $150,000 Per Claim
Williams Industrial Services Group, Inc.      P-001-000868569-02         5/1/2023         5/1/2024         $51,836.00          $0.00         $51,836.00                     Axis Insurance Co.                         Employment Practices Liab.         $5,000,000                                                         wrongful termination.
                                                                                                                                                                                                                                                                         $150,000 3rd Party

                                                                                                                                                                                                                                                                                                   Provides coverage for trustees, fiduciaries, professional administrators,
Williams Industrial Services Group, Inc.      P-001-000868562-02         5/1/2023         5/1/2024          $18,837           $0.00           $18,837                       Axis Insurance Co.                          Fiduciary Liabililty/ERISA        $5,000,000      $25,000 per Claim        and the plan itself with respect to errors and omissions in the
                                                                                                                                                                                                                                                                                                   administration of employee benefit programs.

                                                                                                                                                                                                                                                                                                   Provides coverage for trustees, fiduciaries, professional administrators,
                                                                                                                                                                                                                     Excess Fiduciary Liabililty/ERISA                                             and the plan itself with respect to errors and omissions in the
Williams Industrial Services Group, Inc.         06-283-38-45            5/1/2023         5/1/2024          $10,000           $0.00           $10,000               National Union Fire Ins Co of Pitt                                                    $5,000,000         __________
                                                                                                                                                                                                                               $5M x $5M                                                           administration of employee benefit programs.

                                                                                                                                                                                                                                                                                                        Provides coverage for a data breach where customers' personal
                                                                                                                                                                                                                                                                                                      information is exposed or stolen, and covers a variety of expenses
                                                                                                                                                                                                                                                                                                   including notification costs, credit monitoring, costs to defend claims by
                                                                                                                                                                                                                                                                         $50,000 Each Claim        regulators, fines and penalties and loss resulting from identity theft. As
Williams Industrial Services Group, Inc.    PLM-CB-SCDHC6D4V-002         5/1/2023         5/1/2024         $29,145.00        $1,997.80       $31,142.80                 Cowbell- Palomar Excess                                   Cyber                   $5,000,000   See Policy for Additional        well, coverage extends to property exposures including business
                                                                                                                                                                                                                                                                       Deductible Information          interruption, data loss/destruction, funds transfer loss and cyber
                                                                                                                                                                                                                                                                                                                                    extortion.



Williams Industrial Services Group, Inc.   C-4LPY-039477-CEPSME-2023     5/1/2023         5/1/2024          $29,945          $1,197.80       $31,142.80                  Coalition-Arch Specialty                        Excess Cyber $5Mx$5M             $5,000,000         __________


                                                                                                                                            $3,940,162.60




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                                   EXHIBIT B

                   First Insurance Premium Financing Agreement




00054144.1
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DocuSign Envelope ID F88D5F94-7559-4C5D-A132-0062D219DBFD
 LENDER:                                      PREMIUM FINANCE AGREEMENT                                                                                      450 Skokie Blvd, Ste 1000


                                                                 Personal    [/JCommercial           QAdditional Premium                                     Northbrook, IL 60062-7917
                                                                                                                                                  P (800) 837-3707 F:(800) 837-3709
 First Insurance*                                                                                                                                     www.firstinsuranccfunding com
 1                          FUNDING
        A WtNTRUST COMPANY
                                                                                                                                                                Quote #: 48984033

      INSURED/BORROWER                                        Customer ID: N/A                  AGENT or BROKER
 (Name and Address as shown on Policy)                                                       (Name and Business Address)
 Williams Industrial Services Group Inc                                                      S1MKISS& BLOCK
 200 Ashford Center North, Suite 425                                                          1041 Old Cassatt Rd
 Atlanta, GA 30338                                                                           Berwyn, PA 19312




                                                                         LOAN DISCLOSURE
          Total               Down                 Unpaid          Documentary             Amount                 FINANCE                  Total of                ANNUAL
       Premiums,            Payment               Balance            Stamp Tax             Financed               CHARGE                  Payments             PERCENTAGE
      Taxes, and                                                  (only applicable in   (amount of credit      (dollar amount the      (amount paid alter            RATE
                                                                       Florida)         provided on your      credit will cost you)   making all scheduled      (cost of credit as a
          Fees
                                                                                             behalf)                                       payments )               yearly rate)

        612 51960            123,143.92           489,375.68             0.00              489,375 68                18,694.72            508,070.40                 8.250 %

     FOt/ff PAYMENT SCHEDULE WILL BE:                                 Mail Payments to: FIRST Insurance Funding, PO Box 7000, Carol Stream, IL 60197-7000
      Number of Payments                    Amount of Each Payment           First Installment Due        6/U2023

               io                                 50,807.04                  Installment Due Dates        1st (Monthly)

 Certain information contained in the Loan Disclosure section may change in accordance with Section 19 of this Agreement
 INSURED’S AGREEMENT:
  1. SECURITY INTEREST. INSURED/BORROWER (“Insured") grants and assigns FIRST Insurance Funding, A Division of Lake Forest Bank & Trust Company ,
 N A (' LENDER") a first priority lien on and security interest in the financed policies and any additional premium required under the financed policies listed in the Schedule of
 Policies, including (a) all returned or unearned premiums, (b) all additional cash contributions or collateral amounts assessed by the insurance companies in relation to the
 financed policies and financed by LENDER hereunder, (c) any credits generated by the financed policies, (d) dividend payments, and (e) loss payments which reduce unearned
 premiums (collectively, the "Financed Policies"). Ifany circumstances exist m which premiums related to any Financed Policy could become fully earned in the event of loss,
 LENDER shall be named a loss-payee with respect to such policy.
 2. FINANCE CHARGE. The finance charge begins accruing on the earliest effective date of the Financed Polices The finance charge is computed using a 365 day calendar
 year

 3. LATE PAYMENT. For commercial loans, a late charge will be assessed on any installment at least 5 days in default, and the late charge will equal 5% of the delinquent
 installment or the maximum late charge permitted by law, whichever is less. For personal loans, a late charge will be assessed on any installment 10 days in default, and the late
 charge will be the lesser of $10 or 5% of the delinquent installment.
 4. PREPAYMENT. If Insured prepays the loan in full, Insured is entitled to a refund of the unearned finance charge computed according to the Rule of 78s.

                                                                         SCHEDULE OF POLICIES
                           Full Name of Insurance Company and Name of General Agent or Company                                         Policy                        Premiums, Taxes
      Policy Number                                                                                                 Coverage                      Effective Date
                                                  Office to Which Premium is Paid                                                       Term                             and Fees
 TBD                      C001 87-WESCO INSURANCE COMPANY                                                               D&O                12   5.' 1/2023                 153,000 00
                          G000I6-RT SPECIALTY                                                                                                   ERN TXS/FEES                     0 00
                            (CX0]      [90%PR]                                                                                                  FIN TXS/FEES                     0 00

 TBD                      C00435-NATIONAL UNION FIRE IN CO PA                                                           D&O                12   5/1/2023                   107,100 00
                          G00II4-RT SPECIALTY                                                                                                   ERN TXS/FEES                       000
                           |CX0] [90%PR]                                                                                                        FIN TXS/FEES                       000

     (Policies continued on next page.)                                                                                                            TOTAL                   612,51960

 Q# 48984033, PRN 042023, CFG A04790, RT ALERAGROUP-BR, DD: N/A, BM Invoice, Qtd For A04790 Original, Memo 1
5. PROMISE TO PAY. In consideration of the premium payment by LENDER to the insurance companies listed in the Schedule of Policies (or their authorized representative)
or the Agent or Broker listed above. Insured unconditionally promises to pay LENDER, the Amount Financed plus interest and other charges permitted under this Agreement,
including the Down Payment if owed and payable directly to LENDER, subject to all the provisions of this Agreement
6. POWER OF ATTORNEY. INSURED IRREVOCABLY APPOINTS LENDER AS ITS “ATTORNEY-IN-FACT' with full power of substitution and full authority, m the
event of default under this Agreement, to (a) cancel the Financed Policies in accordance with the provisions contained herein, (b) receive all sums assigned to LENDER, and (c)
execute and deliver on behalf of Insured all documents relating to the Financed Policies in furtherance of this Agreement. This right to cancel will terminate only after all of
Insured’s indebtedness under this Agreement is paid in full. Insured is responsible for repayment of the Amount Financed plus interest and other charges permitted under this
Agreement, including the Down Payment if owed and payable directly to LENDER, irrespective of whether LENDER exercises this right to cancel the Financed Policies
7. SIGNATURE & ACKNOWLEDGEMENT. Insured has received, reviewed, and signed a copy of this Agreement By signing below, you certify that you have the requisite
authority to (a) enter into this Agreement on behalf of Insured (if applicable, including as agent, trustee, executor, or otherwise in a representative capacity) and any other insureds
named on the Financed Policies, and (b) jointly and severally agree on behalf of all insureds named on the Financed Policies to all provisions set forth in this Agreement Insured
acknowledges and understands that entry into this financing arrangement is not required as a condition for obtaining insurance coverage.
NOTICE TO INSURED: (1) Do not sign this Agreement before you read both pages of it, or if it contains any blank space. (2) You are entitled to a completely fillcd-in
copy of this Agreement. (3) Yon have the right prepay the loan in full and receive a refund of any unearned finance charge. (4) Keep a copy of this Agreement to protect
your legal rights. (5) See last page of Agreement for your consent to electronic statement and notice delivery.



                                                                                                 — Docv 3lgnod by:


                                                                                                                                                                      4/25/2023
                                                                            4/25/23                    4FAC1CA1 57W50

                                                                            Date             Signature of Agent                                                        Date
 Signature of Insured or Authorized Agent


                                                                                                                                                                              FIFI122NBP
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DocuSign Envelope ID: F88D5F94-7559-4C5D-A132-0062D219DBFD
                                                                                                                                              Insured   Williams Industrial Services
                                                     ADDITIONAL PROVISIONS OF PREMIUM FINANCE AGREEMENT                                       Quote # 48984033
8. APPLICATION OF PAYMENTS, {a) Payments received by LENDER from Insured shall be applied first to installments, then to any unpaid fees. The payment of
installments is prioritized over the payment of fees, which means when LENDER receives partial payments or overpayments of any installment(s), amounts previously applied to
fees may be reallocated to enable a full mstallment(s) to be paid. This payment application method may cause fees to reappear as unpaid and owing after the payment period in
which the fees were originally assessed and paid, but does not increase or otherwise change the amount of fees that Insured may be required to pay under this Agreement, (b) Any
returned premium received by LENDER from the Financed Policies will be applied to reduce the total unpaid balance under this Agreement, which shall not relieve Insured of its
obligation to pay any remaining installments due but may reduce the amount of such installments.
9. EFFECTIVE DATE.            This Agreement will not become effective until it is accepted in writing by LENDER LENDER will send a Notice of Acceptance to Insured to confirm
this Agreement is effective
10. DEFAULT/CANCELLATION.                Insured is in default under this Agreement if (a) the Down Payment, if to be collected by LENDER, or any payment is not received by
LENDER when it is due. (b) a proceeding in bankruptcy, receivership, insolvency or simitar proceeding is instituted by or against Insured, or (c) Insured fails to comply with any
of the terms of this Agreement If Insured is in default, LENDER has no further obligation under this Agreement to pay premiums on Insured's behalf, and LENDER may pursue
any of the remedies provided in this Agreement or by law. If a default by Insured results in a cancellation of the Financed Policies, Insured agrees to pay a cancellation charge for
commercial loans, which will be the maximum permitted by law. No cancellation charge shall apply to personal loans. If cancellation or default occurs, Insured agrees to pay
interest on the unpaid balance due at the contract rate until the balance is paid in full.
11. LIMITATION OF LIABILITY. Insured understands and agrees that LENDER or its assignee is not liable for any losses or damages to Insured or any person or
entity upon the exercise of LENDER'S right of cancellation, except in the event of willful or intentional misconduct by LENDER.
12. INSUFFICIENT FUNDS CHARGE. If Insured’s payment is dishonored for any reason and if permitted by law Insured will pay LENDER an insufficient funds charge equal
to the maximum fee permitted by law for commercial loans and $10 for personal loans.
13. LENDER'S RIGHTS AFTER THE POLICIES ARE CANCELLED. After any Financed Policy is cancelled by any party or if a credit is otherwise generated, LENDER
has the right to receive all unearned premiums and other funds assigned to LENDER as security herein and to apply them to Insured's unpaid balance under this Agreement or any
other agreement between Insured and LENDER. Receipt of unearned premiums does not constitute payment of installments to LENDER, in full or m part. Any amounts received
by LENDER after cancellation of the Financed Policies will be credited to the balance due with any excess paid to the Insured, the minimum refund is $1.00. Any deficiency shall
be immediately paid by Insured to LENDER. Insured agrees that insurance companies may rely exclusively on LENDER’S representations about the Financed Policies.
14. ASSIGNMENT.         Insured may not assign any Financed Policy or this Agreement without LENDER'S prior written consent.               LENDER may transfer its rights under this
Agreement without the consent of Insured
15. AGENT OR BROKER.              Insured agrees that the Agent or Broker issuing the Financed Policies or through whom the Financed Policies were issued is not the agent of
LENDER, except for any action taken on behalf of LENDER with the express authority of LENDER, and LENDER is not bound by anything the Agent or Broker represents to
Insured, orally or in writing, that is not contained in this Agreement. Where permissible by law, LENDER may pay some portion of the finance charge or other form of
compensation to the Agent or Broker executing this Agreement for aiding in the administration of this Agreement In NY, the Agent or Broker may assess a fee to Insured for
obtaining and servicing the Financed Policies pursuant to NY CLS Ins § 2 1 1 9. Any questions regarding this payment should be directed to the Agent or Broker.
 16. COLLECTION COSTS. Insured agrees to pay reasonable attorney fees, court costs, and other collection costs Io LENDER to the extent permitted by law if this Agreement
is referred to an attorney or collection agent who is not a salaried employee of LENDER to collect money that Insured owes
17. GOVERNING LAW. The loan terms subject to this Agreement are governed by applicable federal law and Illinois law (to the extent not preempted by federal law), without
regard to principles of conflicts of law or choice of law. If any court finds any term herein to be invalid, such finding will not affect the remaining provisions.
18. WARRANTY OF ACCURACY. Insured represents and warrants that to the best of its knowledge: (a) the Financed Policies are in full force and effect and that the Insured
has not and will not assign any interest in the Financed Policies except for the interest of mortgagees and loss payees, (b) the Down Payment and any past due payments have been
paid m full to the Agent or Broker or Lender in cash or other immediately available funds, (c) all information provided herein or in connection with the Agreement is true, correct,
and not misleading, (d) Insured is not insolvent nor presently involved in any insolvency proceeding, (e) Insured has no indebtedness to the insurance companies issuing the
Financed Policies, (f) there is no provision in the Financed Policies that would require LENDER to notify or obtain consent from any other party to effect cancellation of the
Financed Policies, and (g) Insured has disclosed if he or she is a covered member of the armed forces or a dependent of a covered member as defined in the Military Lending Act.
19. ADDITIONAL PREMIUMS, (a) Insured expressly agrees to (i) fully and timely comply with all audits by the insurance companies issuing the Financed Policies, (ii) timely
provide complete and accurate payroll information, if applicable and (iii) pay to the insurance companies any additional amount due in connection with the Financed Policies. The
Amount Financed shall be applied to the Financed Policies' premium amounts and Insured shall be responsible for any additional premiums or other sums. I b) Insured, or Agent or
Broker, may request that LENDER finance additional policies and/or additional premiums (the "Additional Premiums") for Insured during the term of this Agreement. If
LENDER agrees, LENDER will send a Notice of Acceptance to Insured to confirm its approval to finance the Additional Premiums. For commercial loans, this Agreement shall
be deemed amended on the date of the Notice of Acceptance to consolidate the Additional Premiums with Financed Policies into a single and indivisible loan transaction subject to
this Agreement (with applicable changes to the payment schedule), and the Additional Premiums shall be “Financed Policies" on the date of the Notice of Acceptance. For
personal loans. LENDER (or Agent or Broker on LENDER'S behalf) will provide a separate Premium Finance Agreement to Insured for any Additional Premiums.
20. CORRECTIONS. LENDER may insert the names of insurance companies or policy numbers in the Schedule of Policies, if this information is not known at the time Insured
signs this Agreement. LENDER is authorized to correct patent errors or omissions in this Agreement.
21. NON-WAIVER. Not Applicable.




                                                       AGENT OR BROKER REPRESENTATIONS AND WARRANTIES
Unless previously disclosed in writing to LENDER or specified in the Schedule of Policies, the Agent or Broker executing this Agreement expressly represents, warrants, and
agrees as follows: (I) Insured has received a copy of this Agreement and has authorized this transaction, the signer of this Agreement (whether Insured or its agent) has valid
authority to bind Insured and any other insureds named under the Financed Policies to the terms of this Agreement, including the Power of Attorney provision. Insured’s
signature is genuine, and the Down Payment has been received from Insured (unless the Down Payment was made to Lender), (2) the information contained in the Schedule
of Policies including the premium amount is correct and accurately reflects the necessary coverage, (3) the Financed Policies (a) are in full force and effect, (b) are cancellable
by Insured or LENDER (or its successors or assigns), (c) will generate unearned premiums which will be computed on the standard short rate or pro rata basis, and (d) do not
contain any provisions which affect the standard short rate or pro rata premium computation, including but not limited to direct company bill, aud t, reporting form,
retrospective rating, or minimum or fully earned premium, (4) the Agent or Broker is either the insurer’s authorized policy issuing agent or the broker placing the coverage
directly with the insurer, except where the name of the Issuing Agent or General Agent is listed in the Schedule of Policies, (5) to the best of the Agent or Broker’s
knowledge, there are no bankruptcy, receivership, or insolvency proceedings affecting Insured, (6) Agent or Broker will hold harmless and indemnify LENDER and its
successors and assigns against any loss or expense (including attorney's fees, court costs, and other costs) incurred by LENDER and resulting from Agent or Broker’s
violations of these Representations and Warranties or from Agent or Broker’s errors, omissions, or inaccuracies in preparing this Agreement, and will promptly reimburse
LENDER for any loss or expense incurred in connection with any incidence of fraud or lack of valid authority on behalf of Insured or any other named insureds with respect
to the terms of this transaction, the Agreement, or the Financed Policies, (7) Agent or Broker will (a) hold in trust for LENDER any payments made or credited to Insured
through or to Agent or Broker by the insurance companies or LENDER, and (b) pay these monies and the unearned commissions to LENDER upon demand to satisfy the
outstanding indebtedness under this Agreement, and (8) to fully and timely assist with all payroll audits.




                                                                                                                                                                          FIFI122NBP
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DocuSign Envelope ID: F88D5F94-7559-4C5D-A132-0062D219DBFD


                                                              SCHEDULE OF POLICIES                                Insured- Williams Industrial Services
                                                                                                                  Quote # 48984033


                   Full Name of Insurance Company and Name of General Agent or Company                   Policy                      Premiums, Taxes
   Policy Number                                                                         Coverage                   Effective Date
                                       Office to Which Premium is Paid                                   Term                            and Fees
  TBD              C02341-ZURICH AMERICAN                                                   D&O             12     5'1.'2023                75,000.00
                   G000 1 6-RT SPECIALTY                                                                           ERN TXS/FEES                  0.00
                    |CX:0|   [90%PR|                                                                               FIN TXS/FEES                  0.00

  TBD              C0I445-XL SPECIALTY INSURANCE CO                                         D&O             I2     5'1'2023                 46,500.00
                   GOO 1 1 4-RT SPECIALTY                                                                          ERN TXS'FEES                  0 00
                    |CX:0|   [90%PR|                                                                               FIN TXS/FEES                  0.00

  TBD              C00024-RSUI INDEMNITY COMPANY                                            D&O             I2     5/1.'2023                33,000.00
                   G000 1 6-RT SPECIALTY                                                                           ERN TXS/FEES                  0.00
                    [CX:0]   [90%PR]                                                                               FIN TXS/FEES                  0.00

  TBD              C00I98-AXIS INSURANCE COMPANY                                            D&O             I2     5/1'2023                 37,03 1 00
                   G000 1 6-RT SPECIALTY                                                                           ERN TXS/FEES                  0.00
                    [CX:0|   [90%PRJ                                                                               FIN TXS/FEES                  0.00

  TBD              C0I445-XL SPECIALTY INSURANCE CO                                        CRME             I2     5'1'2023                 17,930.00
                   G00114-RT SPECIALTY                                                                             ERN TXSTEES                   0.00
                    [CX:0]   [90%PR]                                                                               FIN TXS/FEES                  0.00

  TBD              C00198-AXIS INSURANCE COMPANY                                           LIAB             I2     5/1'2023                 18,837.00
                   G001 1 4-RT SPECIALTY                                                                           ERN TXS'FEES                  0.00
                    [CX:0]   [90%PR]                                                                               FIN TXS/FEES                  0.00

  TBD              C00435-NATIONAL UNION FIRE IN CO PA                                     EXLB             I2     5'1'2023                 10,000 00
                   G001 1 4-RT SPECIALTY                                                                           ERN TXS/FEES                  0 00
                    [CX:0]   [90%PR]                                                                               FIN TXS'FEES                  0.00

  TBD              C00198-AX1S INSURANCE COMPANY                                            EPLI            I2     5'1'2023                 51,836.00
                   G00H4-RT SPECIALTY                                                                              ERN TXS'FEES                  000
                    [CX:0] [90%PR]                                                                                 FIN TXS/FEES                  0 00

  TBD              C0357I-PALOMAR EXCESS & SURPLUS INSURANCE CO                           CY LIAB           I2     5/1'2023                 29,145 00
                    [CX:0]   [90%PR]                                                                               ERN TXS/FEES                800.00
                                                                                                                   FIN TXS/FEES              1,197 80
  TBD              COOI69-ARCH SPECIALTY INSURANCE CO                                     CY LIAB           I2     5'1'2023                 29,945 00
                   G00114-RT SPECIALTY                                                                             ERN rxs/l-EFS                 0 00
                    [CX:0| [90%PR|                                                                                 FIN TXS.l'EES             1,197 80




                                                                                                                                         FIF0214P-SCH
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            Simkiss
            & Block
                                                  INSURANCE INVOICE



                 Williams Industrial Services Group, LLC                              Cust. No. WILLIND-01
                 200 Ashford Center North, Suite 425
                 Atlanta, GA 30338



                                                  POLICY INFORMATION


TYPE OF POLICY:                                    N/A - Finance Agreement Down Payment
INSURANCE COMPANY:                                 N/A - Finance Agreement Down Payment
NAMED INSURED:                                     Williams Industrial Services Group, LLC
POLICY EFFECTIVE DATE:                             5/01/2023
POLICY EXPIRATION DATE:                            5/01/2024
POLICY TERM:                                       Annual
POLICY NUMBER:                                     N/A - Finance Agreement Down Payment



********^****^**************^**************4:***********^**^*********^***+*****




First Insurance Funding Quote ft: 48984033
Finance Agreement Down Payment
                                                                                             $   123,143.92




TOTAL AMOUNT: Due:                                                                           $   123,143.92


4/27/2023
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                     P: 610.727.5300
Simkiss              F: 610.727.5414
                                                       1041 Old Cassatt Road
                                                                                           simkiss.com
                                                       Berwyn, PA 19312
& Block              E: info@simkiss.com




                     Simkiss & Block, An Alera Group Agency, LLC
                                WIRE/ACH INSTRUCTIONS:



   JPMorgan Chase Bank, N.A.


   For Wire Transfers:



   ABA#      021000021   for all incoming domestic wires
   ACCT NAME - Simkiss & Block, An Alera Group Agency, LLC
   ACCT#      782559675


For ACH delivery:
      ABA#     071000013
   ACCT NAME - Simkiss & Block, An Alera Group Agency, LLC
   ACCT#      782559675



The address is not needed, but if they insist:
JP Morgan Chase Bank, NA
10 S Dearborn St.
Chicago, IL 60603


For incoming international wires (in US dollars or foreign currency)
Same information as above plus our SWIFT #: CHASUS33



Wires or ACH: Either method of sending us money is acceptable.
Please send detail with the wire or separately enabling us to properly allocate the funds
received.




                    WORLD-CLASS RISK AND BENEFITS SOLUTIONS



CORPORATE RISK 9 EMPLOYEE BENEFITS   • SURETY BONOS • PRIVATE CLIENT INSURANCE « PRIVATE EQUITY RISK
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                                  EXHIBIT C

                     BankDirect Premium Financing Agreement




00054144.1
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             BankDirect                                                          ISO North Field Drive, Suite 190
                                                                                   Lake Forest, Illinois 60045
                                                                                                                                        Quote Number 2386872.6
                                                                                                                                   COMMERCIAL INSURANCE PREMIUM
             CAPITAL FINANCE                                             Phone 877-226-5456 Fax:877-226-5297
                                                                                                                                   FINANCE AND SECURITY AGREEMENT
     THIS COMMERCIAL INSURANCE PREMIUM FINANCE AND SECURITY AGREEMENT (Ms YtyomeeO is between Insured named below as borrower and BankDirect
     Capita) Finance, s division of Taxes Caplai Bank (*SankDirect') as tender, concemhg the tncndng of ho premium^) far one or more commercial hsurenca poides bled in lhe
 _..SdwduJe_j|P^ftgyibqtaw{taTghr)..Thf tenwirfbleAqreorMnlpraslttodbctowaiMfMMsiibtequiFHphity^Ffad^iuTyiC

  Insured / Borrower (’Insured*) Nemo 4 Business Address (as stated in Pokey)                           Insured’s Agent or Broker (’Agent*) Name a Bustass Address
  Williams Industrial Services Group, inc                                                              Slmkiss & Block
  Williams Industrial Services Group, LLC                                                              1041 Old Cassatt Road
  200 Ashford Center North, Suite 425                                                                  Berwyn, PA 19312
  Atlanta, GA 30338
  TWchww Number 866-851-4077                       TtoiplyWlDft                                        Tsvone Number 610-727-5371                          Agency Code- 15490
                                                                          SCHEDULE OF POLICIES (aach,a -Policy-)

                                                                                                       Pofcy
    RofcyPreit
                         Effective Date    Name 4 Qty of insurance Company                                            Policy Termer       Mb        Dey»      Short
                                                                                       Typed          Subject to
                            of Policy      end Nome 4 CHy of Geoervt or Pofcy                                           Montie          Earned       to       Rale             Premium Amounts
    end Number                                                                        Coverage          Audi
                          MMDD/YY            Issuing Agent or Company Office                                            Covered         Prem%     Caned       H)
                                                                                                         W)
                         9/15/2022        Hamilton Insurance Designated           CONTRACTOR                                                                           Premium: $139,000.00
                                                                                                                          12            25%         10
                                          Activity Company                        S POLL. UAB /
                                          RSG Specialty, LLC - PhUedelphiipROF LIAB -
                                                                                                                                                                       Policy Fee:    $0.00
                                          1515 Market Sl„ Suite 1030                                                                                                   Broker Fee:    $0.00
                                                                                      CPUPL
                                          Philadelphia, PA 19102                                                                                                       Tax/Stamp:       $5,560.00
                                                                                                                                                                       Inspection:          $0,00
  AdWtonafftfata are Medon the aitdttd Schedule ofPbides
                                                                                                      TOTAL PREMIUMS ]                                                           $3,326,673.04
                                                                                                                           FINANCE                TOTAL OF
                                                                               FLORIDA                                                                                           ANNUAL
                                                                                                   AMOUNT                  CHARGE                PAYMENTS
                                                         UNPAID                  DOC                                        ThedqCar         Amount st (Merest and             PERCENTAGE
         TOTAL                     DOWN                                                           FINANCED
                                                        PREMIUM                 STAMP                                       amount of        principal wMch wl haw             INTEREST RATE
                                                                                                 Amount ollnn
      PREMIUMS                   PAYMENT                                         TAX                                        interest the      been paid on the Loen       ThoaostofMefostonlie
                                                        BALANCE                                  provided to or on
                                                                                                                           Loan wtt cost
                                                                               Applicable h                                                       after making el        Loen as a yeady pemntoge
                                                                                                 behalf at Insured
                                                                                Haida only                                over tie lean of       scheduled Lean                      fete.
                                                                                                                             the Loan              payments

  $3,326,673.04               $282,952.49           $3,043,720.55                $0.00         $3,043,720.55             $68,75684            $3,112,477.39                       4.49%



                                          Number of Loan                Amount of Esch Loan                             When Loan Payments are Due (“Due Palea")
    Payment Schedule:
                                             Payments                       Payment* .                               First Due Date              Subsequent Monthly Due Dates’*
     The Loan payment
      schedule wil be:                           11                                                                  10/15/2022
                                                                               $282,952.49                                                                            15th
               *Non-paymonloftha Loen may result in cancelalion of any Policy       "Sutaequait'payrneflb ere due on be same day ol each suocooting period until pad In Ml
Prepayment Insured may prepay the oulstendhg principal batace of ho loan in M al any                   Delinquency Charge: Insured agrees to pay a detinquency charge to BankDiract on any
fma. 11 Insured prepays he loan in hl. Insured wB receive a refund of be uneemod finance               payment required to ba made by Insured hereunder which is not received by BankDirect within
dwge, calculated according to the Ruh of TTs or the actuarial method » prowled by appkeebie            tin (S) days of its duo data unless a longer period is spaoM under appltabte tew. in which
law. Mtranwn refund hit.                                                                               case the delinquency charge wft be imposed on any payment not received by BankDtad
Security Interest: Insured assigns and grants e seaaty ritoresl to Bank&red as scanty tor              wflhln bis longer period TTisdelhqueocychorgs wilbotatesssrof (1)5%dbeorardue
payment of al amounts payable under his Agreement in al of Insured's right He and interest m           amount or (2) be manmum ddhquency Charge alowod by appicabte law.
and Io each Ptrtcy end M annuity WtWi era or may become payable to Insured under or with               Cancelation Charge: If a detail results in cancelation of a Policy. Insured agrees to pay e
reference to ha Pofctes Wurfing, among other hinge, any gross unearned premiums, dvidend
                                                                                                       cancelation charge ol S25 or (he maximum amount permiHed by applicable law.
payments, and efl payments on account offoss which results In reduction ol any unearned prentan
jnsoogdanoavrilh beteim(s)cfseidPuliciw
IMPORTANT INFORMATION ABOUT YOUR LOAN: To help he Federal government tghl the funding ol terrorism end money laundering activitiss, Federal law requires el Itancsal institutions Io
obtain, rarity and reooidnlbrmatian that toenlies ta nsured. Wewil roquee such information as we deem reasonably necessary to altar us to property Identily you, such as your name, address and
Taxpayer ID It (TIN).
                        1. 00 NOT SION THIS AGREEMENT UNTIL YOU READ ALL PAGES OF THE AGREEMENT AND FILL N ANY BLANK SPACES. 2. YOU ARE ENTITLED TO A
NOTICE TO               COMPLETELY FILLED N COPY OF THIS AGREEMENT. 3. YOU UNDERSTAND AND RAVE RECEIVED A COPY OF THIS AGREEMENT, KEEP IT TO PROTECT YOUR
INSURED:                LEGAL RIGHTS. 4. UNDER THE LAW, YOU HAVE THE RIGHT TO PAY OFF M ADVANCE THE FULL AMOUNT DUE AND UNDER CERTAIN CONDITIONS TO OBTAIN A
                        PARTIAL REFUND OF THE FINANCE CHARGE. » SEE ADDITIONAL PAGES FOR HPORTANT ^FORMATION.
REPRESENTATIONS AND WARRANTIES:                                                                        Al Insureds must sign at named ki Policta. H cotporabon, euthertnd obcere must sign; II
                                                                                                       gMnmdiip^iKlwmM sign as such; s^Mtory Mfo^yepresanlativa                              ^^*4s
The underskinod Agent end knured have read lhe RspiMectefons and Wamntes on page two ol
his documsnl make an such representations and warranties and tnderatad bat BankOited wJ
rely on al such representations and warranties In delermMig taefaor or not io accept Hs
                                                                                                       hereunder. By stoning Wow Inured agrees to make al paymMlTrequirod by Mt Mreemenl
                                                                                                       and to ba bmmduy ill pravkfons of tie* Agreement induong boMon page two tauradta
Agreement and agree to be bound by lhe terms of his Agreement Insured birther adcnowlodgas             not required to enter into an tauranoe prem'um Inancfag arrangement » a condRfon to ho
hat upon satisfactory completion of tie Agreement, he undersigned Agent may receive a lee from         purchase ol any msurence pokey
BankDirect lor be origination and edmkiistotion of this Agreement as slowed by ipptcabte tew.


 (Signakire of Agent)                                                                                  (Signature of Insured)



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                                                                                                        'Pmvfr
                                                                                                       (Printed Name 4 Trite)
                                                                                                                                VaU* 1 1 i                            (Date)
                                                                                                                                                                               i/zpk1
    BANKDIRECT 1 040114 -DS                                                                                                                                                                         1
                                     Case 23-10961-BLS                           Doc 9              Filed 07/22/23                   Page 26 of 37



                                                                                                    Total Premiums: $3,326,673.04
                                                                                                    W. Finance Cham. The Finance Charge indudes interest on be outstmdfog prindpai amount



BB&s SBBHr~~
                                                                                                    of he Loon. Ths finance Charge to computed using a 355-day year. Merest on be Loan shaft
                                                                                                                              to of Ws Agreement ar be earifest potty affedhre date hdeaurd in
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                                                                                                                               Agreement after an Event of Detain. Insured raft pay Interest on Ire
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                                                                                                    the date a such termination unit Insured pays be Loen and al otoer amounts due under Bib
IRtprtMMtationaandWarrMititt. Insured represents and warrants Bret (a) he Poficfes are to           Agreement in fan.
Ml force and offod; M be proceeds of ha Loan are to be used to purchase insurance for               11. Additional Premium. Inured »ms to promptly pay to each appbcaMo insurance company
buskms or commercial purposes; (c) aft Wormalfon provfcfcd hereto or In conoodfon wifo this
AgrttmtrHis tore, correct, complete and nol mWaadhg; (d) Insured has no Webtodnes* to he
towers Issuing he Maas; (a)Insured is not inMteant norpreseaBy be subject of My insolvency          11 M^AgudbMl he agemd Banioirtd and Ageal cannot bind BrekDred In any way
pTOceedhg, and (I) he person signing his Agreement on bafaNof Insured is authorized to do so.       BankOred is not Agent of any insurer and is not fabte for any ads cr omfcskm of any insurer
3. Power of ARorat
fol power of fijbsl!iut_-. _ _                                                          ,
below)to 0) fated cendeMon of the Potass,"?) receive any unearned premium or otoer amounts          BankDred hereunder.
wflh resped to he Poftdes assigned as security hereto. (S) sign any check or draft issued
                                                                                                    13. Correction*. Except i prohfotted by appUcabte law. BankDired may coned any errors or
therefore in Insured's name and to direct ha fawranee companies to nuke said check or draft
peyabta to BankDired and M sign ray other hswment or ttocuaert to Ihe name of and on behaS          omission* In his Agreement end if not known or waded at be time of signatoe by or for
                                                          agree* that lib
of Su^ to effectuate he purposes of fols AgreemwiL tawedI agrees          appototnenl and
                                                                      Ns appoMnen)                  insured.
                                                            t. terminate
evhorftycamwt be revoked and is coupled »» an interest and wi  ‘                 *. Insured**
                                                                          orly atoer  ..            14. Force or Effect This Agreement shaft have no force a effect until accepted h writing by
oblgfafons under this Agreement are paid to Ml Insured agrees hat proof of mailing any notice       BankDired
hereunder consStotes proof ofreceipl of such note.                                                  15. Limitation of Liability: Claim* Against BankDired Neither BANKDIRECT aor
4. Payments Received after Notice of Cancellation. Insured agrees hat any payments made             Ito afityue shall bo labia for atty lots or damage to the Insured by reason of failure of any
and accepted after a Note of CancaMfon has bora sort to any insurance company do nd                 hauranca company to Itstre or maintain in force any of the Poitefee or by reason of the
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                                                                        .. such mu.,—;
wrarftotfi ratatatomanl or obBgato Bankfflroct to request rtinstetsment of                          exercise by BANKDIRECT or Its ustara Of the rtaftfe conferred hereto, Including but not
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coverage, and that such paymnts rm be applied to Insured's obftgaions hereunder of wider any
other agreement wfth BemOkwct and any such payments
                                             .. . .     wtt not affect BraMWrect’s righto or’       16. Governing Law. This Agreement is governed byandansbved and hterpntedinKxnrdance
remedfes under his Agreement                                                                        ww>  he wwa
                                                                                                    with •»         » state w»av
                                                                                                                 « he
                                                                                                            laws of                                Ns Agreement
                                                                                                                                  BenkDbed accepts »
                                                                                                                            where oohmmom                                     dskm/ibw             fa
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                                                                                                                                                                              BankDIrect shaft, ««
5. Assignments. Insured agrees not to assign ray riohls, htereW or oWaaUonsunder^nyPcfcy option, prosecute any acfen to enforce fa righto and remedies hereunder in the Orcutt Court of
or his Agtatmarttrihcel ho prior written consent of BraMSred except that BanWWs consent Cook Grerrty. Bhots, and Insurod (J) kravocaWy wahres any objection to such venue and p) wii
Is not required for fee rights « toteresto al mortgagees end fosa payees. BankBireci may usign      honoranyoroeri$suodbyorju(lgmenlenforcodinsucha»a.
its rfcjhii and interests under Bite Agreement*®™ insured* conaenLrad[oft righto and Merest*        17. feisce&Mtoue, Nl rights and remedtes to hb Agreement are cumutaBve and not exduwo.n
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assign*.                                                                                            the renMning provWons of Bib Agreement shaft continue to berta faft force end efed This
S. tnsufftclarrt Funds (N5F) Fee*. If an insured's check or etectronlc famfing Is dtohonored for    Agreement cons&utes foe enrira agreement betweeri BaekOirect and hswed wtth respect to 8s
any reason. Insured agrees to pay BenkDfrect e foe equal to 325 or die menmum emounl                subject matter and may notbemorMad except as agreed upon in writing. BrakCMcfs aoceptofwe
perrnfttedby appfcabte&w.                                                                           of We or pariH Myrnente shaft Mt be deemed a wahrer by BankDirect ol any provtslons d Ns
7. Default AnEventofDefauRoconwtMn: MhsuteddoesMipayenyinsla*T>entaoconrng ^'N^’lM^BartD^bertoWtoreq^hM^towicftMr^wiihme lemishMof. If
to the terms of Hs Agreement or any otier aweerrient (b) Insured fob to oomph wlh any of ho         any amourt conftded far at reoafoad by 8anWred hereunder bdetercninM to wotete any
terras of foe Agreement; M any of he Poftdes are omeBtd for any feason; (d) insured cr Its          ypgabteJy. BmkOtat reay ratore so* prchMed an»ri to. Mured ufthmit any farther
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8. Rights Upon DefttH. D an Evrat d Mui ow BankDired may al fa opton pursue aw record of Ns Agreemenlshaft
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                                                                                        it. CALIFORNIA RESIDENTS: FOR INFORMATION CONTACT THE
and efi righfeand retaedfea avalabta. incfadfog but nolftmited to. be fottodr^Wnand and ia.
                                                                                        DEPARTMENT OF CORPORATIONS, STATE OF CALIFORNIA.
take aft MMxresaryadons to enforce payment deny unpaid amounts due hereunder. To the extent         Insured agrees hat, in accordance w® Sedfon 18603 of he Cafiomia Financial Code,
nol prowled or wnitod by applcabte law, BankBred cs edited to oolecSon tost* and expenses           BankDirecr* ftatfetty to insured upon Ihe exercise of BrakOirecTs euhorty to cancel Bte PoScre*
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under Hs Agreement and apptattfe tow and to reasonable                foe* If this Agreement n      BonkDirecfevnMul Wure to mat the notice of canceMon required under Ceftfomla law.
retorred to MBflomayyho is not a salaried employee of BenkDireci far colectfan or Mforoemenl        New York Reskfente. No chargee Imposed for obtaining and servicing be ftnanoed poftdes.
BarftOiredmaycancfeany or al of he Poftdes and ccisd any unerened pramfams or other                 pursuant to Soden 2119 (tome<yl25) al bo New Yak Insurance laws, are financed hereunder
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in connection with the Polities scheduled herein, Agent represents and warrants to BankDIrect and its successors and assigns that
1. Payment Agent shaft rentb al funds recahed from BrakDired and Insured promptly to he             7, Down Payment The down payment and any otw payments due from insured which Agent
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Insured owes to Agent from any amounte owing to BarMfrad hereunder.                                 rtfaofes. Ths Agrramenl is a vmd and MforceftteagreemeM between BankDirod and Agent
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Name of Insured: Williams Industrial Services Grou Total Premiums: $3,326,673.04

                                                           Schedule of Policies
                 EFFECTIVE   NAW A CITY OF INSURANCE COMPANY                    POUOES
                                                                                           TERMN       MIN              SHORT
 POLICY PREFIX    DATE OF    AND NAME A CITY OF GENERAL AGENT         TYPE OF   SUBJECT                       DAYS TO
                                                                                           MONTHS    EARNED             RATE        PREMIUM AMOUNTS
  ANDNUMBSt        POUCY       OR COMPANY OFF ICE                    COVERAGE   TO AUDIT                      CANCEL
                                                                                           COVHtED    PREM
                 MMKMXYY


10001988702 9/15/2022 Starr Specialty Insurance Company kUTO LIABILITY                       12       0%        10
                                                                                                                                Premium.      $104,917.0'
                      399 Park Ave 2nd Fl New York, NY
    21                                                                                                                          Foley Fee:          $0.00
                      10022
                                                                                                                                Broker Fee:         $0,00
                                                                                                                                Tax/Stamp:        $103.04
                                                                                                                                Inspection;         $0.00

1000002884       9/15/2022   Starr Indemnity & Liability Company    WORKERS                                                     Premium       $315,674.00
                                                                                             12       0%        10
                             399 Park Ave 2nd Fl Naw York, NY        COMP-                                                      PoicyFee:           $Q,00
                             10022                                 GUARANTEED
                                                                                                                                Broker Fee:         $0.00
                                                                      COST
                                                                                                                                Tax/Stamp:     $58,225.00
                                                                                                                                Inspection:         $0.00
                 9/15/2022   Starr Indemnity & Uabllty Company      WORKERS                                                     Premium:       $43,597.00
100 0003306                                                                                  12       0%        10
                             399 Park Ave 2nd Ft New York, NY        COMP-                                                      Policy Fee:         $0.00
                             10022                                 GUARANTEED
                                                                      COST
                                                                                                                                Broker Fee          $0.00
                                                                                                                                Tax/Stemp:          $0.00
                                                                                                                                Inspection:         $0.00

100 0004774      9/15/2022   Starr Indemnity & Liability Company    WORKERS                                                     Premium:    $265,729.00
                                                                                             12       0%        10
                             399 Park Ave 2nd Fl New York. NY        COMP                                                       PoicyFee:         $0.00
                             10022                                 GUARANTEED
                                                                      COST
                                                                                                                                Broker Fea        $0.00
                                                                                                                                Tax/Stamp:        $0.00
                                                                                                                                Inspection:       $0.00
10000904352      9/15/2022   Stair Indemnity A Liability Company    GENERAL
                                                                                                      0%                        Premium:    $605,000.00
                                                                                             12                 10
                             399 Park Ave 2nd Fl New York. NY       LIABILITY
    21                                                                                                                          PcPcy Fee-        $0.00
                             10022
                                                                                                                                Broker Feet       $0.00
                                                                                                                                Tax/Stamp         $0.00
                                                                                                                                Inspection:       $0.00

    TBD          9/15/2022   Starr Indemnity & Liability Company     INLAND                                                     Premium:      $100,160.00
                                                                                             12      25%        10
                             399 Park Ave 2nd Fl New York. NY        MARINE                                                     Policy Fee:         $0.00
                             10022
                                                                                                                                Broker Fee:         $0.00
                                                                                                                                TedStomp:           $0.00
                                                                                                                                Inspection:         $0.00
                 9/15/2022   Starr Indemnity & Liability Company    EXCESS                                                      Premium:      $647,668.00
10000954712                                                                                  12       0%        10
                             399 Park Ave 2nd Fl New York. NY       LIABILITY                                                   PoficyFae:          $0.00
     21                      10022
                                                                                                                                Broker Fee:         $0.00
                                                                                                                                Tax/Stamp:          $0.00
                                                                                                                                Inspection:         $0.00

EXC3000072       9/15/2022   Endurance American Insurance Co        EXCESS
                                                                                             12                                 Premvnc       $383,000.00
                             RSG Specialty. LLC - Philadelphia
                                                                                                     25%        10
                                                                    LIABILITY                                                   Poky Foe:           $0.00
   8104                      1615 Market St , Suite 1030
                             Philadelphia. PA 19102
                                                                                                                                Broker Fee:         $0.00
                                                                                                                                Tax/Stamp:     $15,320.00
                                                                                                                                Inspection:         $0.00
NY22EXCZ06 9/15/2022         Navigators Insurance Company           EXCESS                                                      Premium:      $458,000.00
                             RSG Specialty, LLC • Philadelphia      LIABILITY
                                                                                             12       0%        10
   7KMIC                                                                                                                        PoicyFee:           $0.00
                             1615 Market Si., Suite 1030
                             Philadelphia. PA 19102
                                                                                                                                Broker Fee:         $0.00
                                                                                                                                Tac/Slamp:     $18,320.00
                                                                                                                                Inspection:         $0.00
                 9/16/2022   Gotham Insurance Company               EXCESS                                                      Premkinr      $160,000.00
EX202200002                                                                                  12       0%        10
                             RSG Specialty. LLC - Philadelphia      LIABILITY
     721                                                                                                                        PdfcyFew            $0.00
                             1515 Maikel St.. Suite 1030
                                                                                                                                Broker Fee          $0.00
                             Philadelphia. PA 19102
                                                                                                                                Tax/Stamp:      $6,400.00
                                                                                                                                Inspection:         $0.00
                                                                                                               PAGE 3 TOTALS               $3.182,113.04



                                                                                                                                                        3
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                                       EXHIBIT D

                                     Amounts Specified

             Financing Agreement                         Outstanding Balance

 First Insurance Premium Financing                                $0
 Agreement

 BankDirect Insurance Premium Financing                       $565,904.98
 Agreement




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                                  EXHIBIT E

                             Proposed Interim Order




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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

 In re:
                                                                    Chapter 11
 WILLIAMS INDUSTRIAL SERVICES
 GROUP INC., et al.,2                                               Case No. 23-10961

                                                                    (Jointly Administered)
             Debtors.
                                                                    Related Docket No. __


   INTERIM ORDER (I) AUTHORIZING DEBTORS TO CONTINUE PREPETITION
     INSURANCE AND WORKERS’ COMPENSATION POLICIES AND TO PAY
  PREPETITION PREMIUMS AND RELATED OBLIGATIONS AND (II) GRANTING
                           RELATED RELIEF

          This matter is before the Court on the Emergency Motion for Entry of an Order (I)

Authorizing Debtors to Continue Prepetition Insurance and Workers’ Compensation Policies and

to Pay Prepetition Premiums and Related Obligations and (II) Granting Related Relief (the

“Motion”) [Docket No. __] of the above-captioned debtors and debtors in possession (collectively,

the “Debtors”). All capitalized terms used but not defined herein shall have the meanings given

them in the Motion.

          The Court has considered the Motion, the First Day Declaration, and the matters reflected

in the record of the hearing held on the Motion on July ___, 2023. It appearing that proper and

adequate notice of the Motion has been given and that no other or further notice is necessary; and

the Court having found that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and the

Court having found that venue of this proceeding and the Motion in this district is proper pursuant


2 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor's federal tax identification number, include:

Williams Industrial Services Group Inc. (1378), Williams Industrial Services Group, LLC (2666), Williams Industrial Services,
LLC (0406), Williams Plant Services, LLC (9575), Williams Specialty Services, LLC (9578), WISG Electrical, LLC (6918),
Construction & Maintenance Professionals, LLC (0925), Williams Global Services, Inc. (3708), Steam Enterprises, LLC (9177),
GPEG LLC (5707), Global Power Professional Services, Inc. (2550), WISG Canada Ltd. (B.N. 6518), WISG Nuclear Ltd. (B.N.
3510), and WISG Electrical Ltd. (B.N. 2116). The location of the Debtors' corporate headquarters and service address is: 200
Ashford Center N, Suite 425, Atlanta, GA 30338.



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                Case 23-10961-BLS           Doc 9   Filed 07/22/23     Page 31 of 37




to 28 U.S.C. §§1408 and 1409(a); and it appearing that the relief requested is in the best interests

of the Debtors’ estates, their creditors, and other parties in interest, and that good cause has been

shown therefor; IT IS HEREBY ORDERED:

         1.      The Motion is granted on an interim basis to the extent set forth herein.

         2.      The Debtors are authorized, but not required, to maintain the Insurance Policies and

Workers’ Compensation Policies, and to pay any post-petition obligations related to the Insurance

Policies, insurance deductibles, and any other amounts related thereto.

         3.      The final hearing (the “Final Hearing”) on the Motion shall be held on _________,

2023, at__:__ _.m., prevailing Eastern Time. Any objections or responses to entry of a final order

on the Motion shall be filed on or before 4:00 p.m., prevailing Eastern Time, on _________, 2023,

and shall be served on: (i) the Debtors; (ii) proposed counsel for the Debtors, Thompson Hine LLP,

(Attn: Alan Lepene.), email: alan.lepene@thompsonhine.com and Chipman Brown Cicero & Cole,

LLP (Attn: Mark L. Desgrosseilliers), email: desgross@chipmanbrown.com; (iii) counsel to the

administrative agents for the Debtors’ prepetition credit facilities, Blank Rome LLP (Attn: Regina

Stango        Kelbon,    Gregory       F.     Vizza),    email:      regina.kelbon@blankrome.com,

gregory.vizza@blankrome.com; (iv) counsel to any statutory committee appointed in these Cases;

and (v) the Office of the United States Trustee for the District of Delaware, (Attn: Linda

Richenderfer); email: linda.richenderfer@usdoj.gov. If no objections to entry of a final order on

the Motion are timely received, this Court may enter such final order without further notice or

hearing.

         4.      Subject to the entry of a final order on the Motion, the Debtors are authorized, but

not required, to renew, amend, supplement, extend, or purchase Insurance Policies and Workers’




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               Case 23-10961-BLS          Doc 9     Filed 07/22/23     Page 32 of 37




Compensation Policies to the extent that the Debtors determine that such action is in the best

interest of their estates in the ordinary course of business.

         5.    Subject to a final order on the Motion, the Debtors are authorized to enter into new

premium financing agreements in the ordinary course of business and in accordance with the same

practices and procedures as were in effect prior to the commencement of the Debtors’ chapter 11

cases to the extent that the Debtors determine such action is in the best interest of their estates.

         6.    The Debtors are authorized, but not required, to pay all amounts necessary to

maintain the Premium Financing Agreements, the Insurance Policies, and/or the Workers’

Compensation Policies, including, without limitation, the amounts specified in Exhibit D to the

Motion on an interim basis in an amount not to exceed $565,904.98.

         7.    Payments made pursuant to the authority granted in this Interim Order shall not be

deemed to constitute the post-petition assumption of any executory contract pursuant to

Bankruptcy Code section 365.

         8.    Nothing in this Interim Order shall affect the Debtors’ rights to contest the amount

or validity of any amounts under any of the Premium Financing Agreements, the Insurance

Policies, and/or the Workers’ Compensation Policies.

         9.    Notwithstanding the relief granted herein or any actions taken hereunder, nothing

contained in this Interim Order shall create any rights in favor of, or enhance the status of any

claim held by, any of the Debtors’ insurance providers or any third party.

         10.   Notwithstanding Bankruptcy Rule 6004(h), this Interim Order shall be effective

immediately upon its entry.

         11.   The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Interim Order in accordance with the Motion.



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         12.   The Court shall retain jurisdiction to hear and determine all matters arising from

the implementation of this Interim Order.

         13.   Counsel for the Debtors is directed to serve a copy of this Order on the parties that

received service of the Motion within three (3) days of the entry of this Interim Order and to file a

certificate of service with the Clerk of Court.




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                                     EXHIBIT F

                                 Proposed Final Order




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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

 In re:
                                                                    Chapter 11
 WILLIAMS INDUSTRIAL SERVICES
 GROUP INC., et al.,3                                               Case No. 23-10961

                                                                    (Jointly Administered)
             Debtors.
                                                                    Related Docket No. ___


    FINAL ORDER (I) AUTHORIZING DEBTORS TO CONTINUE PREPETITION
     INSURANCE AND WORKERS’ COMPENSATION POLICIES AND TO PAY
  PREPETITION PREMIUMS AND RELATED OBLIGATIONS AND (II) GRANTING
                           RELATED RELIEF

          This matter is before the Court on the Emergency Motion for Entry of an Order (I)

Authorizing Debtors to Continue Prepetition Insurance and Workers’ Compensation Policies and

to Pay Prepetition Premiums and Related Obligations and (II) Granting Related Relief (the

“Motion”) [Docket No. __] of the above-captioned debtors and debtors in possession (collectively,

the “Debtors”). All capitalized terms used but not defined herein shall have the meanings given

them in the Motion.

          The Court has considered the Motion, the First Day Declaration, and the matters reflected

in the record of the hearing held on the Motion on July ___, 2023. It appearing that proper and

adequate notice of the Motion has been given and that no other or further notice is necessary; and

the Court having found that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and the

Court having found that venue of this proceeding and the Motion in this district is proper pursuant


3 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor's federal tax identification number, include:

Williams Industrial Services Group Inc. (1378), Williams Industrial Services Group, LLC (2666), Williams Industrial Services,
LLC (0406), Williams Plant Services, LLC (9575), Williams Specialty Services, LLC (9578), WISG Electrical, LLC (6918),
Construction & Maintenance Professionals, LLC (0925), Williams Global Services, Inc. (3708), Steam Enterprises, LLC (9177),
GPEG LLC (5707), Global Power Professional Services, Inc. (2550), WISG Canada Ltd. (B.N. 6518), WISG Nuclear Ltd. (B.N.
3510), and WISG Electrical Ltd. (B.N. 2116). The location of the Debtors' corporate headquarters and service address is: 200
Ashford Center N, Suite 425, Atlanta, GA 30338.



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               Case 23-10961-BLS          Doc 9     Filed 07/22/23     Page 36 of 37




to 28 U.S.C. §§1408 and 1409(a); and it appearing that the relief requested is in the best interests

of the Debtors’ estates, their creditors, and other parties in interest, and that good cause has been

shown therefor; and any objection to the Motion having been withdrawn, resolved, or overruled;

and a hearing having been held with respect to the entry of a final order granting the Motion; IT

IS HEREBY ORDERED:

         1.     The Motion is granted on a final basis to the extent set forth herein.

         2.     The Debtors are authorized, but not required, to maintain the Insurance Policies and

Workers’ Compensation Policies, and to pay any post-petition obligations related to the Insurance

Policies, insurance deductibles, and any other amounts related thereto.

         3.     The Debtors are authorized, but not required, to renew, amend, supplement, extend,

or purchase Insurance Policies and Workers’ Compensation Policies to the extent that the Debtors

determine that such action is in the best interest of their estates in the ordinary course of business.

         4.     The Debtors are authorized to enter into new premium financing agreements in the

ordinary course of business and in accordance with the same practices and procedures as were in

effect prior to the commencement of the Debtors’ chapter 11 cases to the extent that the Debtors

determine such action is in the best interest of their estates.

         5.     The Debtors are authorized, but not required, to pay all amounts necessary to

maintain the Premium Financing Agreements, the Insurance Policies, and/or the Workers’

Compensation Policies, including, without limitation, the amounts specified in Exhibit D to the

Motion.

         6.     Payments made pursuant to the authority granted in this Final Order shall not be

deemed to constitute the post-petition assumption of any executory contract pursuant to

Bankruptcy Code section 365.



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               Case 23-10961-BLS          Doc 9     Filed 07/22/23     Page 37 of 37




         7.    Nothing in this Final Order shall affect the Debtors’ rights to contest the amount or

validity of any amounts under any of the Premium Financing Agreements, the Insurance Policies,

and/or the Workers’ Compensation Policies.

         8.    Notwithstanding the relief granted herein or any actions taken hereunder, nothing

contained in this Final Order shall create any rights in favor of, or enhance the status of any claim

held by, any of the Debtors’ insurance providers or any third party.

         9.    Notwithstanding Bankruptcy Rule 6004(h), this Final Order shall be effective

immediately upon its entry.

         10.   The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Final Order in accordance with the Motion.

         11.   The Court shall retain jurisdiction to hear and determine all matters arising from

the implementation of this Final Order.

         12.   Counsel for the Debtors is directed to serve a copy of this Final Order on the parties

that received service of the Motion within three (3) days of the entry of this Final Order and to file

a certificate of service with the Clerk of Court.




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